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              1 Anthony J. Oncidi (State Bar No. 118135)
                aoncidi@proskauer.com
              2 Robert H. Horn (State Bar No. 134710)
                rhorn@proskauer.com
              3 Susan L. Gutierrez (State Bar No. 273980)
                sgutierrez@proskauer.com
              4 Christopher L. Williams (admitted pro hac vice)
                cwilliams@proskauer.com
              5 PROSKAUER ROSE LLP
                2049 Century Park East, 32nd Floor
              6 Los Angeles, California 90067-3206
                Telephone: (310) 557-2900
              7 Facsimile: (310) 557-2193
              8 Attorneys for Plaintiff and Counterdefendant Aaron L. Mintz
                and Counterdefendant Creative Artists Agency, LLC
              9
                Louis R. Miller (State Bar No. 54141)
             10 smiller@millerbarondess.com
                Daniel S. Miller (State Bar No. 218214)
             11 dmiller@millerbarondess.com
                Vinay Kohli (State Bar No. 268430)
             12 vkohli@millerbarondess.com
                MILLER BARONDESS, LLP
             13 1999 Avenue of the Stars, Suite 1000
                Los Angeles, California 90067
             14 Telephone: (310) 552-4400
                Facsimile: (310) 552-8400
             15
                Attorneys for Plaintiff Aaron L. Mintz
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             17
                                     UNITED STATES DISTRICT COURT
             18
                                   CENTRAL DISTRICT OF CALIFORNIA
             19
                                             WESTERN DIVISION
             20
                                                             Case No. CV12-2554 SVW(SSx)
             21 AARON L. MINTZ, an individual,    )
                                                  )          (Consolidated with Case No. CV12-
                             Plaintiff,           )          3055 SVW (SSx))
             22                                   )
                        vs.                       )          JUDGMENT
             23                                   )
             24   MARK BARTELSTEIN & ASSOCIATES,)
                  INC., d/b/a Priority Sports &   )
             25   Entertainment; and MARK         )
                  BARTELSTEIN, an individual,     )                       JS-6
             26                                   )
                                      Defendants. )
             27                                   )
                                                  )
             28   AND RELATED COUNTERCLAIMS       )
                                                  )

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              1         WHEREAS, on November 1, 2012, the motion for summary judgment as to
              2 all counterclaims and motion for partial summary judgment as to the claims for
              3 declaratory relief, violation of the Computer Fraud and Abuse Act (18 U.S.C.
              4 § 1030), violation of the Electronic Communications Privacy Act (18 U.S.C. § 2501
              5 et seq.), violation of the California Computer Data Access and Fraud Act (Cal. Pen.
              6 Code § 502), invasion of privacy, and violation of the California Unfair Competition
              7 Law (Cal. Bus. & Prof. Code § 17200), filed by plaintiff and counterdefendant
              8 Aaron L. Mintz and counterdefendant Creative Artists Agency, LLC, came on for
              9 hearing before this Court;
             10         WHEREAS, on November 1, 2012, the motion for partial summary judgment
             11 as to the counterclaims for breach of contract and breach of the duty of loyalty, filed
             12 by defendants and counterclaimants Mark Bartelstein & Associates, Inc., d/b/a
             13 Priority Sports & Entertainment, and Mark Bartelstein, came on for hearing before
             14 this Court;
             15         WHEREAS, on November 1, 2012, the Court:
             16         (i)    Granted summary judgment for plaintiff Aaron L. Mintz and against
             17                defendant Mark Bartelstein & Associates, Inc., d/b/a Priority Sports &
             18                Entertainment, as to his claims for invasion of privacy and violation of
             19                the California Computer Data Access and Fraud Act (Cal. Pen. Code
             20                § 502), and denied summary judgment as to his claim for violation of
             21                the California Unfair Competition Law (Cal. Bus. & Prof. Code
             22                § 17200);
             23         (ii)   Granted summary judgment for defendants Mark Bartelstein &
             24                Associates, Inc., d/b/a Priority Sports & Entertainment, and Mark
             25                Bartelstein and against plaintiff Aaron L. Mintz as to his claims for
             26                declaratory relief, violation of the Computer Fraud and Abuse Act (18
             27                U.S.C. § 1030), and violation of the Electronic Communications
             28                Privacy Act (18 U.S.C. § 2501 et seq.); and

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              1         (iii)   Granted summary judgment for counterdefendants Aaron L. Mintz and
              2                 Creative Artists Agency, LLC and against counterclaimants Mark
              3                 Bartelstein & Associates, Inc., d/b/a Priority Sports & Entertainment,
              4                 and Mark Bartelstein as to every counterclaim (and therefore denied as
              5                 moot counterclaimants’ motion for partial summary judgment as to the
              6                 counterclaims for breach of contract and breach of the duty of loyalty);
              7         WHEREAS, on November 9, 2012, plaintiff Aaron L. Mintz voluntarily
              8 dismissed with prejudice his claims for defamation, interference with prospective
              9 economic relations, and violation of the California Unfair Competition Law (Cal.
             10 Bus. & Prof. Code § 17200);
             11         WHEREAS, on November 13 and 14, 2012, a trial on damages as to the claim
             12 of plaintiff Aaron L. Mintz for invasion of privacy came on for trial by jury, which
             13 was duly impaneled and sworn;
             14         WHEREAS, after the evidence had been presented and after being duly
             15 instructed by the Court, the jury deliberated and thereon duly returned a special
             16 verdict in favor of plaintiff Aaron L. Mintz and against defendant Mark Bartelstein
             17 & Associates, Inc., d/b/a Priority Sports & Entertainment;
             18         WHEREAS, in accordance with the jury’s special verdict and the
             19 November 1, 2012 order on the motions for summary judgment;
             20         IT IS ORDERED, ADJUDGED, AND DECREED that:
             21         1.      Plaintiff Aaron L. Mintz shall recover from defendant Mark Bartelstein
             22 & Associates, Inc., d/b/a Priority Sports & Entertainment, the sum of $85,000 on the
             23 claim for invasion of privacy, and interest at the legal rate from the date of entry of
             24 judgment until the date the judgment is fully satisfied;
             25         2.      Judgment is entered for defendant Mark Bartelstein and against
             26 plaintiff Aaron L Mintz on the claim for invasion of privacy;
             27         3.      Judgment is entered for plaintiff Aaron L. Mintz and against defendant
             28 Mark Bartelstein & Associates, Inc., d/b/a Priority Sports & Entertainment, on

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              1 plaintiff Aaron L. Mintz’s claim for violation of the California Computer Data
              2 Access and Fraud Act (Cal. Pen. Code § 502), but plaintiff Aaron L. Mintz shall
              3 recover no monetary damages on that claim;
              4         4.    Judgment is entered for defendants Mark Bartelstein & Associates,
              5 Inc., d/b/a Priority Sports & Entertainment, and Mark Bartelstein, and against
              6 plaintiff Aaron L. Mintz on the claims for declaratory relief, violation of the
              7 Computer Fraud and Abuse Act (18 U.S.C. § 1030), and violation of the Electronic
              8 Communications Privacy Act (18 U.S.C. § 2501 et seq.);
              9         5.    Judgment is entered on the counterclaims of counterclaimants Mark
             10 Bartelstein & Associates, Inc., d/b/a Priority Sports & Entertainment, and Mark
             11 Bartelstein, as follows:
             12               (a)    For counterdefendant Aaron L. Mintz and against
             13                      counterclaimants Mark Bartelstein & Associates, Inc., d/b/a
             14                      Priority Sports & Entertainment, and Mark Bartelstein on the
             15                      counterclaims for breach of contract, breach of the covenant of
             16                      good faith and fair dealing, breach of the duty of loyalty,
             17                      misappropriation of trade secrets, intentional interference with
             18                      present and prospective economic advantage and business
             19                      relationships, conversion, violation of the California Computer
             20                      Data Access and Fraud Act (Cal. Pen. Code § 502), defamation,
             21                      trade libel, conspiracy, and violation of the California Unfair
             22                      Competition Law (Cal. Bus. & Prof. Code § 17200);
             23               (b)    For counterdefendant Creative Artists Agency, LLC and against
             24                      counterclaimants Mark Bartelstein & Associates, Inc., d/b/a
             25                      Priority Sports & Entertainment, and Mark Bartelstein on the
             26                      counterclaims for misappropriation of trade secrets, intentional
             27                      interference with contractual relations, intentional interference
             28                      with present and prospective economic advantage and business

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             1                    relationships, conspiracy, and violation of the California Unfair
             2                    Competition Law (Cal. Bus. & Prof. Code § 17200);
             3        6.    Pursuant to the parties’ agreement, each side shall bear its own costs of
             4 suit; and
             5        7.    Any request by counterdefendants Aaron L. Mintz and/or Creative
             6 Artists Agency, LLC for an award of reasonable attorneys’ fees under California
             7 Civil Code § 3426.4 shall be made pursuant to Local Rule 54-12.
             8
             9 Dated: December 18, 2012
             10                                           _________________________________
                                                                    Stephen V. Wilson
             11                                                 United States District Judge
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